                         Case 1-18-42780-ess               Doc 1        Filed 05/14/18           Entered 05/14/18 14:16:18



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Moke Peace 11 Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1202 Halsey Street
                                  Brooklyn, NY 11207
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  416 Madison St. Brooklyn, NY 11221
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Moke Peace 11 Corp.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Moke Peace 11 Corp.                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Moke Peace 11 Corp.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       May 14, 2018
                                                   MM / DD / YYYY


                             X   /s/ Michael Kandhorov                                                    Michael Kandhorov
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Ira R. Abel                                                           Date May 14, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ira R. Abel
                                 Printed name

                                 Law Office of Ira R. Abel
                                 Firm name

                                 305 Broadway
                                 14th Floor
                                 New York, NY 10007
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      212.799.4672                 Email address      iraabel@verizon.net

                                 1792373 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Moke Peace 11 Corp.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Asset Acceptance                                                                                                                                                                 $0.00
 LLC
 28405 Van Dyke
 Warren, MI 48093
 Internal Revenue                                                                                                                                                                 $0.00
 Service
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 LNV Corporation                                                 Real Property                                         Unknown                   Unknown                   Unknown
 1 Corporate Drive                                               located at 416
 Suite 360                                                       Madison St.,
 Lake Zurich, IL                                                 Brooklyn, NY
 60047                                                           11221
 MERS as nominee                                                                                                                                                                  $0.00
 for Residential
 Home Fund
 G4318 Miller Rd
 Flint, MI 48501
 NYC Department of                                                                                                                                                                $0.00
 Finance
 345 Adams Street,
 3rd FL
 Attn: Legal Affairs
 Divis
 Brooklyn, NY
 11201-3719
 NYC Department of                                                                                                                                                                $0.00
 Finance
 Office of Legal
 Affairs
 345 Adams Street,
 3rd Flo
 Brooklyn, NY 11201
 NYC Dept. Housing                                                                                                                                                                $0.00
 Preserv
 100 Gold St, 3rd Fl
 New York, NY 10038

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Moke Peace 11 Corp.                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYC Dept. of                                                                                                                                                                     $0.00
 Transportati
 100 Church St
 New York, NY 10007
 NYC Environmental                                                                                                                                                                $0.00
 59-17 Junction Blvd
 East Elmhurst, NY
 11369
 NYS Dept. Of                                                                                                                                                                     $0.00
 Taxation & F
 Bankruptcy Unit -
 TCD
 Building 8, Room
 455
 W.A. Harriman State
 Campu
 Albany, NY 12227
 NYS Dept. of                                                                                                                                                                     $0.00
 Taxation & F
 Bankruptcy Unit
 P.O. Box 5300
 Albany, NY 12205
 Portfolio Recovery                                                                                                                                                               $0.00
 Assoc
 140 Corporate Blvd
 Norfolk, VA 23502
 U.S. Department of                                                                                                                                                               $0.00
 HHS
 Office of General
 Counsel
 26 Federal Plaza,
 Room 39
 New York, NY 10278
 U.S. Department of                                                                                                                                                               $0.00
 HUD
 Office of Regional
 Counse
 26 Federal Plaza,
 Room 35
 New York, NY 10278
 U.S. Environmental                                                                                                                                                               $0.00
 Protec
 Office of the
 Regional Co
 Attn Douglas
 Fischer,Esq.
 New York, NY
 10007-1866




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Moke Peace 11 Corp.                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 U.S. Securities and                                                                                                                                                              $0.00
 Excha
 New York Regional
 Office
 Bankruptcy Group
 200 Vesey Street,
 Suite 4
 New York, NY 10281
 United States                                                                                                                                                                    $0.00
 Attorney
 Attention: Bonni
 Perlin,
 Bankruptcy
 Coordinator
 Civil Division, Bankr
 Pro
 Brooklyn, NY
 11201-1820
 US Bank Trust NA                                                Real Property                                         Unknown                   Unknown                   Unknown
 Trustee                                                         located at 416
 2711 Haskella                                                   Madison St.,
 Avenue 1700                                                     Brooklyn, NY
 Dallas, TX 75204                                                11221




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                   Asset Acceptance LLC
                   28405 Van Dyke
                   Warren, MI 48093


                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   LNV Corporation
                   1 Corporate Drive
                   Suite 360
                   Lake Zurich, IL 60047


                   MERS as nominee
                   for Residential Home Fund
                   G4318 Miller Rd
                   Flint, MI 48501


                   NYC Department of Finance
                   345 Adams Street, 3rd FL
                   Attn: Legal Affairs Divis
                   Brooklyn, NY 11201-3719


                   NYC Dept. Housing Preserv
                   100 Gold St, 3rd Fl
                   New York, NY 10038


                   NYC Dept. of Transportati
                   100 Church St
                   New York, NY 10007


                   NYC Environmental
                   59-17 Junction Blvd
                   East Elmhurst, NY 11369


                   NYS Dept. Of Taxation & F
                   Bankruptcy Unit - TCD
                   Building 8, Room 455
                   W.A. Harriman State Campu
                   Albany, NY 12227


                   NYS Dept. of Taxation & F
                   Bankruptcy Unit
                   P.O. Box 5300
                   Albany, NY 12205
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               Portfolio Recovery Assoc
               140 Corporate Blvd
               Norfolk, VA 23502


               U.S. Department of HHS
               Office of General Counsel
               26 Federal Plaza, Room 39
               New York, NY 10278


               U.S. Department of HUD
               Office of Regional Counse
               26 Federal Plaza, Room 35
               New York, NY 10278


               U.S. Environmental Protec
               Office of the Regional Co
               Attn Douglas Fischer,Esq.
               New York, NY 10007-1866


               U.S. Securities and Excha
               New York Regional Office
               Bankruptcy Group
               200 Vesey Street, Suite 4
               New York, NY 10281


               United States Attorney
               Attention: Bonni Perlin,
               Bankruptcy Coordinator
               Civil Division, Bankr Pro
               Brooklyn, NY 11201-1820


               US Bank Trust NA Trustee
               2711 Haskella Avenue 1700
               Dallas, TX 75204
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Moke Peace 11 Corp.                                                                            Case No.
                                                                                     Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Moke Peace 11 Corp. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 14, 2018                                                          /s/ Ira R. Abel
 Date                                                                  Ira R. Abel
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Moke Peace 11 Corp.
                                                                       Law Office of Ira R. Abel
                                                                       305 Broadway
                                                                       14th Floor
                                                                       New York, NY 10007
                                                                       212.799.4672 Fax:n/a
                                                                       iraabel@verizon.net




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